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                      UNITED STATES COURT OF APPEALS
                           FOR THE THIRD CIRCUIT
                                _____________

                                    No. 17-1124
                                   _____________

                               PETERSON MANUEL

                                          v.

                           NRA GROUP LLC; DOES 1-10


                                 NRA Group, LLC,
                                             Appellant
                                 _______________

                   On Appeal from the United States District Court
                        for the Middle District of Pennsylvania
                               (D.C. No. 1-15-cv-00274)
                   District Judge: Honorable Christopher C. Conner
                                   _______________

                                     ARGUED
                                  November 6, 2017

           Before: JORDAN, HARDIMAN and SCIRICA, Circuit Judges.

                              (Filed: January 12, 2018)
                                  _______________

                                   JUDGMENT
                                 _______________

       This cause came to be considered on the record from the United States District
Court for the Middle District of Pennsylvania and was argued on November 6, 2017. On
consideration whereof,
        Case 1:15-cv-00274-CCC Document 94 Filed 02/05/18 Page 2 of 2




       It is now hereby ORDERED and ADJUDGED by this Court that the order of the
District Court entered August 5, 2016 is hereby AFFIRMED. All of the above in
accordance with the opinion of the Court. Costs to be assessed against Appellant.

                                        ATTESTED:


                                        s/ Patricia S. Dodszuweit
                                        Clerk of the Court

DATED: January 12, 2018


Costs taxed in favor of Appellee Peterson Manuel as follows:

      Brief         $118.40

      TOTAL         $118.40




                                       Certified as a true copy and issued in lieu
                                       of a formal mandate on 02/05/2018


                                      Teste:
                                      Clerk, U.S. Court of Appeals for the Third Circuit




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